Case 3:19-bk-30822        Doc 49      Filed 07/10/19 Entered 07/10/19 14:00:18            Desc Main
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               In re: Tagnetics: Case No. 19-30822
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Ms. Behnken:

I received the order setting the hearing for the motion to dismiss for July 29 at 9:30 a.m. Is it
possible to have the hearing conducted by phone during the status conference scheduled on
July 19 at 11:00 a.m.? If the court prefers that we have the hearing in person in court, I can be
present in court on July 19 as well. I am requesting that the hearing be rescheduled for July 19
in the interest of judicial economy. A settlement agreement has been reached with the three
creditors who are not subject to the motion to dismiss (a draft settlement agreement has been
circulated). If the court were to rule on the motion to dismiss at the status conference (or
shortly after), the remaining parties will know whether they need to incur the costs of
preparing for and attending the trial that is scheduled for July 29 (if the motion is granted, the
parties will not need to incur those costs). Any opposition to the motion is due to be filed on or
before July 17. Thus, the court should be in position to rule on the motion by the time of the
status conference on July 19.

If you have any questions, please let me know.

Thank you,
Stephen

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